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4
     Attorney for Defendant
5    Jolene Papineau
6                      IN THE UNITED STATES DISTRICT COURT
7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         )   Case No. CR.S-08-263 FCD
                                       )
10              Plaintiff,             )   STIPULATION AND ORDER ADVANCING
                                       )   SENTENCING
11        vs.                          )
                                       )   Date: November 16, 2009
12                                     )   Time: 10:00 AM
     JOLENE PAPINEAU                   )   Court: FRANK C. DAMRELL, JR.
13                                     )
                Defendant              )
14                                     )
15
          The parties, with the concurrence of the United States
16
     Probation Officer, Teresa Hoffman, request sentencing in the
17
     above referenced matter be advanced to Monday, November 16, 2009
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19
     at 10:00 AM.

20        Accordingly, it is hereby stipulated by all parties that

21   the sentencing in this matter, be advanced to November 16, 2009,

22   at 10:00 AM.

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1         IT IS SO STIPULATED:
2
     /S/ MATHEW SEGAL, Esq.                           November 13, 2009
3
     Mathew Segal,
4
     Assistant United States Attorney
     Counsel the United States
5

6    /S/ MICHAEL BRADY BIGELOW, Esq.                  November 13, 2009
     Michael B. Bigelow
7    Counsel for Ms. Papineau

8

9                                         ORDER
10        IT IS HEREBY ORDERED that the sentencing in the above
11
     entitled case, be advanced to November 16, 2009 at 10:00 AM.
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13
     Dated:     November 13, 2009
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                                         _______________________________________
15                                       FRANK C. DAMRELL, JR.
                                         UNITED STATES DISTRICT JUDGE
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